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 13
                         IN THE UNITED STATES DISTRICT COURT
 14
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 15
                                  SOUTHERN DIVISION
 16

 17   MASIMO CORPORATION,                       )   Case No. 8:20-cv-00048
      a Delaware corporation; and               )
 18   CERCACOR LABORATORIES, INC.,              )   COMPLAINT FOR
      a Delaware corporation                    )   (1) PATENT INFRINGEMENT
 19                                             )   (2) TRADE SECRET
                   Plaintiffs,                  )   MISAPPROPRIATION AND
 20                                             )   (3) OWNERSHIP OF PATENTS
            v.                                  )
 21                                             )   AND DEMAND FOR JURY TRIAL
      APPLE INC., a California corporation      )
 22   ,                                         )
                                                )
 23                Defendant.                   )
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  1         Plaintiffs MASIMO CORPORATION (“Masimo”) and CERCACOR
  2   LABORATIES, INC. (“Cercacor”) hereby complain of Defendant APPLE INC.
  3   (“Apple”), and allege as follows:
  4                                   I. THE PARTIES
  5         1.     Plaintiff Masimo is a Delaware corporation having its principal
  6   place of business at 52 Discovery, Irvine, California 92618.
  7         2.     Plaintiff Cercacor is a Delaware corporation having its principal
  8   place of business at 15750 Alton Pkwy, Irvine, California 92618.
  9         3.     Upon information and belief, Defendant Apple is a California
 10   corporation having a principal place of business at One Apple Park Way,
 11   Cupertino, California, 95014.
 12                         II. JURISDICTION AND VENUE
 13         4.     This civil action includes claims for patent infringement arising
 14   under the patent laws of the United States, 35 U.S.C. §§ 100, et seq., more
 15   particularly, 35 U.S.C. §§ 271 and 281. This Complaint further alleges trade
 16   secret misappropriation and seeks a declaration of ownership of certain patents
 17   and patent applications, and, pursuant to 35 U.S.C. § 256, correction of
 18   inventorship of certain patents.
 19         5.     This Court has subject matter jurisdiction pursuant to 28 U.S.C.
 20   §§ 1331, 1338(a), and 1367(a).
 21         6.     Apple has its principal place of business in California. Apple is
 22   subject to personal jurisdiction in California and has committed the acts
 23   complained of in this Judicial District.
 24         7.     Venue is proper in the Southern Division of the Central District of
 25   California pursuant to 28 U.S.C. § 1400(b) with respect to patent infringement
 26   because Defendant has a regular and established place of business in the County
 27   of Orange within the Central District of California and has committed acts of
 28   infringement in this Judicial District. Defendant also has committed acts of
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  1   misappropriation in this Judicial District. Thus, venue is proper pursuant to 28
  2   U.S.C. §§ 1391(b) because a substantial part of the events or omissions giving
  3   rise to the claim occurred in this Judicial District.
  4                          III. STATEMENT OF THE CASE
  5         8.     This action seeks relief for the theft of Plaintiffs’ highly
  6   confidential information and trade secrets, and infringement of Masimo’s
  7   patents by Defendant, and ownership of patents assigned to or filed by Apple on
  8   subject matter that belongs to Masimo.
  9                            IV. STATEMENT OF FACTS
 10         9.     Masimo is a medical technology company that revolutionized non-
 11   invasive monitoring of physiological parameters, such as pulse rate, arterial
 12   oxygen saturation and many others.
 13         10.    Most of these parameters are measured using light that is
 14   transmitted through the body tissue. The received light, that has been attenuated
 15   by the various components of the body tissue, including the blood, is known in
 16   the industry as a photoplethysmograph or “PPG.” The transmission and receipt
 17   of these light signals is typically accomplished through a sensor that is applied
 18   to a body part such as a finger, arm, toe, forehead or ear.
 19         11.    Before Masimo, these non-invasive measurements from the PPG
 20   were plagued by unreliability, often when the measurement was needed most,
 21   due to the person moving or having low peripheral blood flow (known as “low
 22   perfusion”). The industry had essentially given up on solving these problems,
 23   concluding they were largely unsolvable. In the medical context, clinicians had
 24   to live with the results – patient monitors gave excessive false alarms, froze
 25   their measurements for prolonged periods of time despite potential changes in
 26   the physiological parameter (e.g., oxygen saturation or pulse rate), delayed
 27   notification of alarms due to long averaging times of sensor data, produced
 28   inaccurate measurements, or were unable to obtain data on the most critical
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  1   patients and babies who cannot be instructed to stay still. Masimo’s pioneering
  2   technology, known as Masimo Signal Extraction Technology (“Masimo SET”),
  3   solved this problem and dramatically improved the reliability of monitoring and
  4   reporting physiological signals derived from the PPG.
  5         12.   Following its initial success with Masimo SET, Masimo invested
  6   heavily in developing additional breakthrough measurement technologies, such
  7   as non-invasively measuring total hemoglobin, carboxyhemoglobin, and
  8   methemoglobin. Masimo has continued to innovate, succeeding where others
  9   have consistently failed. Masimo was the first, and remains the only, company
 10   delivering these game-changing technologies to hospitals in the United States.
 11   Use of Masimo’s technology in the clinical setting has been proven to reduce
 12   blindness in premature infants, detect congenital heart disease in infants, save
 13   lives on the general care floor and post-surgery, and improve transfusion
 14   management, while saving money.
 15         13.   From its inception, Masimo has continuously developed cutting-
 16   edge noninvasive patient monitoring technologies. Masimo sought and received
 17   numerous U.S. patents for many of its inventions. Masimo’s revolutionary
 18   technology was a key to its gaining significant market praise and penetration.
 19   After introduction into the market, many competitors, much larger than
 20   Masimo, used Masimo’s technology without a license, resulting in patent
 21   infringement lawsuits that ultimately confirmed the validity of Masimo’s
 22   innovations. But, Masimo maintains some technology as trade secrets. Masimo
 23   also closely guards its future product and market plans. Only select employees
 24   have knowledge of and access to these guarded secrets.
 25         14.   Masimo’s innovations also include important advances in sensor
 26   technologies that work together as part of Masimo’s system and algorithms.
 27   Masimo’s sensors are integral to the success of the revolutionary technologies
 28   Masimo has developed.
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  1         15.   In 1998, Masimo spun certain technologies off into a new
  2   company, Masimo Laboratories, Inc. or “Masimo Labs,” to further research and
  3   develop the technologies. The name of the company was later changed to
  4   “Cercacor.” Cercacor and Masimo have a cross-license agreement to facilitate
  5   confidential collaboration between the companies. Cercacor is not owned by
  6   Masimo.
  7         16.   Like Masimo, Cercacor is an innovator of non-invasive monitoring
  8   technologies. Cercacor is on the frontline of understanding how measuring,
  9   tracking, and analyzing physiological parameters can impact pre-diabetic and
 10   diabetic patients, sports training and performance and overall health and
 11   wellness principally in the consumer market.        Cercacor continued the
 12   development that started at Masimo on non-invasive total hemoglobin (SpHb),
 13   methemoglobin (SpMet), and carboxyhemoglobin (SpCO®) and other non-
 14   invasive physiological parameters.
 15         17.   Leading hospitals around the world use Cercacor technology
 16   licensed to Masimo and sold under the name Masimo rainbow SET. Like
 17   Masimo, Cercacor also maintains some technology as trade secrets, and
 18   Cercacor closely guards its future product and market plans.       Only select
 19   employees have knowledge of and access to these guarded secrets.
 20         18.   Masimo and Cercacor carefully guard the secrecy of their
 21   confidential information and documents. For example, Masimo and Cercacor
 22   have policies regarding labeling confidential information and documents as
 23   “CONFIDENTIAL AND PROPRIETARY.”                   They also restrict these
 24   documents and information from disclosure to third parties and employees on a
 25   need-to-know basis. Masimo and Cercacor also have policies in place regarding
 26   the use of computers and related equipment that govern how their computer
 27   systems may be used. Those policies also govern the protection of Masimo’s
 28   and Cercacor’s confidential information.   Both Masimo and Cercacor have
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  1   document management systems that restrict access to confidential documents to
  2   only those employees with proper security credentials and a need for access.
  3   Masimo and Cercacor also require employees to sign agreements precluding the
  4   employees from disclosing or making use of any confidential information
  5   except as authorized by Masimo and Cercacor and as necessary for the
  6   performance of the employees’ duties. Masimo and Cercacor also require third
  7   parties, including customers, to execute confidential non-disclosure agreements.
  8   Masimo and Cercacor implemented such policies and procedures to maintain
  9   the confidentiality of sensitive information. These policies remain in place
 10   today.
 11            19.   In 2013, Apple contacted Masimo and asked to meet regarding a
 12   potential collaboration. Apple told Masimo that Apple would like to understand
 13   more about Masimo’s technology to potentially integrate that technology into
 14   Apple’s products.     Apple and Masimo later entered into a confidentiality
 15   agreement, and Masimo’s management met with Apple. The meetings included
 16   confidential discussions of Masimo’s technology.       After what seemed to
 17   Masimo to have been productive meetings, Apple quickly began trying to hire
 18   Masimo employees, including engineers and key management.
 19            20.   Masimo employed Michael O’Reilly as its Chief Medical Officer
 20   and Executive Vice President for Medical Affairs beginning in January 2008.
 21   As part of the Masimo executive team, O’Reilly was privy to extremely
 22   sensitive information, including information about mobile medical products and
 23   applications, wellness applications, clinical data gathering and analytics, and
 24   other technology of Masimo. Upon information and belief, Apple employed
 25   O’Reilly in July 2013, shortly after the meetings with Masimo, to assist in
 26   wellness and mobile applications that include non-invasive measurement of
 27   physiological parameters. Not long after, by December of 2013, O’Reilly was
 28   already meeting with the FDA on behalf of Apple to discuss medical
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  1   applications and discuss medical products that non-invasively measures blood
  2   constituents.
  3         21.       Apple systematically recruited other key Masimo personnel, such
  4   as Marcelo Lamego, who was the former Chief Technical Officer of Cercacor
  5   and a former Research Scientist at Masimo. Lamego had unfettered access to
  6   Plaintiffs’ highly confidential technical information.      He was trained and
  7   mentored at Masimo by the most skilled engineers and scientists, and was
  8   taught about the keys to effective non-invasive monitoring, something he was
  9   not involved in prior to Masimo. He was also exposed to guarded secrets
 10   regarding mobile medical products, including key technology and advance plans
 11   for future products.
 12         22.       Given what appeared to be a targeted effort to obtain information
 13   and expertise from Masimo and Cercacor, Masimo and Cercacor warned Apple
 14   about respecting their rights.
 15         23.       Shortly after joining Apple in January 2014, Lamego pursued on
 16   behalf of Apple numerous patent applications on technologies he was intimately
 17   involved in at Plaintiffs Cercacor and Masimo, and with which he had no prior
 18   experience or knowledge.
 19         24.       For example, Lamego is named as an inventor on U.S. Provisional
 20   Patent Application No. 62/043,294, filed Aug. 28, 2014 and titled “Reflective
 21   Surface Treatments for Optical Sensors.” Related applications that also name
 22   Lamego as an inventor include U.S Patent Application Nos. 14/740,196 and
 23   16/114,003, which issued as U.S. Patent Nos. 10,078,052 and 10,247,670.
 24         25.       As another example, Lamego is named as an inventor on U.S.
 25   Provisional Patent Application No. 62/047,818, filed Sep. 9, 2014, entitled
 26   “Modulation and Demodulation Techniques for a Health Monitoring System.”
 27   A related application that names Lamego as the sole inventor includes U.S
 28   Patent Application No. 14/621,268, which issued as U.S. Patent No. 10,219,754.
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  1         26.     As another example, Lamego is named as an inventor on U.S.
  2   Provisional Patent Application No. 62/056,299, filed on Sep. 26, 2014, and
  3   entitled “Electronic Device that Computes Health Data.” Related applications
  4   that also name Lamego as the sole inventor include U.S Patent Application Nos.
  5   14/617,422, 15/667,832, and 16/700,710. The ’422 Application issued as U.S.
  6   Patent No. 9,723,997 and the ’832 Application issued as U.S. Patent No.
  7   10,524,671.
  8         27.     As another example, Lamego is named as an inventor on U.S.
  9   Provisional Patent Application No. 62/057,089, filed on Sep. 29, 2014, and
 10   entitled “Methods and Systems for Modulation and Demodulation of Optical
 11   Signals.” Related applications that also name Lamego as an inventor include
 12   U.S Patent Application Nos. 14/618,664 and 15/960,507. The ’664 Application
 13   issued as U.S. Patent Nos. 9,952,095.
 14         28.     Upon information and belief, Apple announced the first version of
 15   its watch in September 2014, and began shipping its watch in April 2015. The
 16   Apple Watch Series 3 was released on September 22, 2017, and upon
 17   information and belief had significant performance issues with the non-invasive
 18   physiological measurements. Apple announced The Apple Watch Series 4 on
 19   September 12, 2018, and upon information and belief, that watch includes
 20   technology that tracks Masimo’s technology to solve some of the performance
 21   issues, including technology to which Lamego was exposed at Masimo and also
 22   technology for which he was an inventor while at Cercacor. The Apple Watch
 23   Series 5 was announced on September 10, 2019 and released on September 20,
 24   2019. Upon information and belief, the Apple Watch Series 5 also includes
 25   Masimo’s technology to solve some of the prior performance issues, including
 26   technology as to which Lamego was an inventor while at Cercacor.
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 28   ///
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  1                            V. THE PATENTS-IN-SUIT
  2         29.    Masimo is the owner by assignment of U.S. Patent No. 10,258,265
  3   entitled “Multi-stream data collection system for noninvasive measurement of
  4   blood constituents” (“the ’265 patent”), which the United States Patent and
  5   Trademark Office lawfully and duly issued on April 16, 2019. A true and
  6   correct copy of the ’265 patent is attached hereto as Exhibit 1.
  7         30.    Masimo is the owner by assignment of U.S. Patent No. 10,258,266
  8   entitled “Multi-stream data collection system for noninvasive measurement of
  9   blood constituents” (“the ’266 patent”), which the United States Patent and
 10   Trademark Office lawfully and duly issued on April 16, 2019. A true and
 11   correct copy of the ’266 patent is attached hereto as Exhibit 2.
 12         31.    Masimo is the owner by assignment of U.S. Patent No. 10,292,628
 13   entitled “Multi-stream data collection system for noninvasive measurement of
 14   blood constituents” (“the ’628 patent”), which the United States Patent and
 15   Trademark Office lawfully and duly issued on May 21, 2019. A true and
 16   correct copy of the ’628 patent is attached hereto as Exhibit 3.
 17         32.    Masimo is the owner by assignment of U.S. Patent No. 10,299,708
 18   entitled “Multi-stream data collection system for noninvasive measurement of
 19   blood constituents” (“the ’708 patent”), which the United States Patent and
 20   Trademark Office lawfully and duly issued on May 21, 2019. A true and
 21   correct copy of the ’708 patent is attached hereto as Exhibit 4.
 22         33.    Masimo is the owner by assignment of U.S. Patent No. 10,376,190
 23   entitled “Multi-stream data collection system for noninvasive measurement of
 24   blood constituents” (“the ’190 patent”), which the United States Patent and
 25   Trademark Office lawfully and duly issued on August 13, 2019. A true and
 26   correct copy of the ’190 patent is attached hereto as Exhibit 5.
 27         34.    Masimo is the owner by assignment of U.S. Patent No. 10,376,191
 28   entitled “Multi-stream data collection system for noninvasive measurement of
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    1   blood constituents” (“the ’191 patent”), which the United States Patent and
    2   Trademark Office lawfully and duly issued on August 13, 2019. A true and
    3   correct copy of the ’191 patent is attached hereto as Exhibit 6.
    4           35.    Masimo is the owner by assignment of U.S. Patent No. 10,470,695
    5   entitled “Advanced pulse oximetry sensor” (“the ’695 patent”), which the
    6   United States Patent and Trademark Office lawfully and duly issued on
    7   November 12, 2019. A true and correct copy of the ’695 patent is attached
    8   hereto as Exhibit 7.
    9           36.    Masimo is the owner by assignment of U.S. Patent No. 6,771,994
   10   entitled “Pulse oximeter probe-off detection system” (“the ’994 patent”), which
   11   the United States Patent and Trademark Office lawfully and duly issued on
   12   August 3, 2004. A true and correct copy of the ’994 patent is attached hereto as
   13   Exhibit 8.
   14           37.    Masimo is the owner by assignment of U.S. Patent No. 8,457,703
   15   entitled “Low power pulse oximeter” (“the ’703 patent”), which the United
   16   States Patent and Trademark Office lawfully and duly issued on June 4, 2013.
   17   A true and correct copy of the ’703 patent is attached hereto as Exhibit 9.
   18           38.    Masimo is the owner by assignment of U.S. Patent No. 10,433,776
   19   entitled “Low power pulse oximeter” (“the ’776 patent”), which the United
   20   States Patent and Trademark Office lawfully and duly issued on October 8,
   21   2019.     A true and correct copy of the ’776 patent is attached hereto as
   22   Exhibit 10.
   23                          VI. FIRST CAUSE OF ACTION
   24                 (INFRINGEMENT OF U.S. PATENT NO. 10,258,265)
   25           39.    Plaintiff Masimo hereby realleges and incorporates by reference
   26   the allegations set forth in paragraphs 1 through 38.
   27           40.    Upon information and belief, Defendant’s products, including at
   28   least the Apple Watch Series 4 and 5 devices, infringe at least Claims 1-3, 6-11,
                                                -9-
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    1   13, 17, and 17-25 of the ’265 patent under at least 35 U.S.C. § 271(a), (b), and
    2   (c).
    3          41.   Upon information and belief, Defendant has directly infringed one
    4   or more claims of the ’265 patent through manufacture, use, sale, offer for sale,
    5   and/or importation into the United States of physiological monitors, including
    6   the Apple Watch Series 4 and 5 devices.
    7          42.   For example, upon information and belief, in operation, the Apple
    8   Watch Series 4 and 5 devices include all of the limitations of Claim 1 of the
    9   ’265 patent. The Apple Watch Series 4 and 5 devices are adapted to be worn by
   10   a wearer and provide an indication of a physiological parameter (for example,
   11   heart rate) of the wearer as shown in the image below found on the Apple
   12   website at https://www.apple.com/apple-watch-series-4/health/:
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   22          43.   The Apple Watch Series 4 and 5 devices include a plurality of
   23   emitters of different wavelengths (for example, green and infrared LEDs) and at
   24   least four detectors (for example, photodiode sensors) spaced apart from each
   25   other as shown in the image below found on the Apple website at
   26   https://support.apple.com/en-us/HT204666:
   27   ///
   28   ///
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              44.    The detectors output signals responsive to light from the light

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        emitters attenuated by body tissue. Upon information and belief, the signals are

   13
        indicative of a physiological parameter (for example, heart rate) of the wearer.

   14
              45.    Upon information and belief, at least some of the technology in the

   15
        Apple Watch Series 4 and 5 devices is described in Apple’s U.S. Patent

   16
        Application Publication 2019/0072912 (the ’912 publication). A copy of the

   17
        publication is attached as Exhibit 11. Analysis of the Apple Watch Series 4 and

   18
        5 devices show that the devices include a housing having a surface and a

   19
        circular wall protruding from the surface, and a light permeable cover arranged

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        above a portion of the housing and covering the detectors as described, for

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        example, in Fig. 4C and the corresponding text of the ’912 publication:

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              46.    Upon information and belief, Defendant has knowledge of
   16
        Masimo’s patents, including the ’265 patent, at least based on O’Reilly and
   17
        Lamego’s former positions with Masimo and Cercacor.               Masimo filed
   18
        provisional patent applications that led to the ’265 patent in August 2008, while
   19
        O’Reilly and Lamego were with Masimo and/or Cercacor. Lamego is a named
   20
        inventor of the ’265 patent. Defendant had knowledge of the ’265 patent no
   21
        later than the filing of this Complaint.
   22
              47.    Upon information and belief, Defendant has actively induced
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        others to infringe the ’265 patent by marketing and selling the above Apple
   24
        Watch Series 4 and 5 devices, knowing and intending that such systems would
   25
        be used by customers and end users in a manner that infringes the ’265 patent.
   26
        To that end, Defendant provides instructions and teachings to its customers and
   27
        end users that such Apple Watch Series 4 and 5 devices be used to infringe the
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    1   ’265 patent.    Defendant’s acts constitute infringement of the ’265 patent in
    2   violation of 35 U.S.C. § 271(b).
    3         48.      Upon information and belief, Defendant actively induces users to
    4   directly infringe the asserted claims of the ’265 patent. By way of example
    5   only, upon information and belief, Defendant actively induces direct
    6   infringement of the ’265 patent by providing directions, demonstrations, guides,
    7   manuals, training for use, and/or other materials necessary for the use of the
    8   Apple Watch Series 4 and 5 devices, including use with Apple iPhones. Upon
    9   information and belief, Defendant knew or should have known that these
   10   activities would cause direct infringement.
   11         49.      Upon information and belief, Defendant’s acts constitute
   12   contributory infringement of the ’265 patent in violation of 35 U.S.C. § 271(c).
   13   Upon information and belief, Defendant contributorily infringes because, among
   14   other things, Defendant offers to sell and/or sells within the United States,
   15   and/or imports into the United States, components of the Apple Watch Series 4
   16   and 5 devices and Apple iPhones that constitute material parts of the invention
   17   of the asserted claims of the ’265 patent, are not staple articles or commodities
   18   of commerce suitable for substantial non-infringing use and are known by
   19   Defendant to be especially made or especially adapted for use in an
   20   infringement of the ’265 patent.
   21         50.      Defendant’s infringement of the ’265 patent is willful, deliberate,
   22   and intentional by continuing its acts of infringement after becoming aware of
   23   the ’265 patent and its infringement thereof, thus acting in reckless disregard of
   24   Masimo’s patent rights.
   25         51.      Because of Defendant’s infringement of the ’265 patent, Masimo
   26   has suffered and will continue to suffer irreparable harm and injury, including
   27   monetary damages in an amount to be determined at trial.
   28   ///
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    1         52.    Upon information and belief, unless enjoined, Defendant, and/or
    2   others acting on behalf of Defendant, will continue their infringing acts, thereby
    3   causing additional irreparable injury to Masimo for which there is no adequate
    4   remedy at law.
    5                        VII. SECOND CAUSE OF ACTION
    6               (INFRINGEMENT OF U.S. PATENT NO. 10,258,266)
    7         53.    Plaintiff Masimo hereby realleges and incorporates by reference
    8   the allegations set forth in paragraphs 1 through 52.
    9         54.    Upon information and belief, Defendant’s products, including at
   10   least the Apple Watch Series 4 and 5 devices, infringe at least Claims 1-19 of
   11   the ’266 patent under at least 35 U.S.C. § 271(a), (b), and (c).
   12         55.    Upon information and belief, Defendant has directly infringed one
   13   or more claims of the ’266 patent through manufacture, use, sale, offer for sale,
   14   and/or importation into the United States of physiological monitors, including
   15   the Apple Watch Series 4 and 5 devices.
   16         56.    For example, upon information and belief, in operation, the Apple
   17   Watch Series 4 and 5 devices 4 and 5 devices include all of the limitations of
   18   Claim 1 of the ’266 patent. The Apple Watch Series 4 and 5 devices provides
   19   an indication of a physiological parameter (for example, heart rate) of the
   20   wearer as shown in the image below found on the Apple website at
   21   https://www.apple.com/apple-watch-series-4/health/:
   22   ///
   23   ///
   24   ///
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   10         57.   The Apple Watch Series 4 and 5 devices a plurality of emitters that
   11   emit light into tissue of a user and a plurality of detectors (for example,
   12   photodiode sensors) that detect light that has been attenuated by tissue of the
   13   user as shown in the image below found on the Apple website at
   14   https://support.apple.com/en-us/HT204666:
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   25         58.   Analysis of the Apple Watch Series 4 and 5 devices show that the
   26   devices include a housing configured to house the detectors and a lens located
   27   between the tissue of the user and the detectors as described, for example, in
   28   Fig. 4C and the corresponding text of the ’912 publication:
                                              -15-
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   17         59.    Upon information and belief, the lens has a single outwardly
   18   protruding convex surface configured to cause tissue of the user to conform to
   19   the protruding convex surface during operation of the noninvasive optical
   20   physiological sensor.
   21         60.    Upon information and belief, Defendant has knowledge of
   22   Masimo’s patents, including the ’266 patent, at least based on O’Reilly and
   23   Lamego’s former positions with Masimo and Cercacor.               Masimo filed
   24   provisional patent applications that led to the ’266 patent in August 2008, while
   25   O’Reilly and Lamego were with Masimo and/or Cercacor. Lamego is a named
   26   inventor of the ’266 patent. Defendant had knowledge of the ’266 patent no
   27   later than the filing of this Complaint.
   28   ///
                                                   -16-
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    1         61.      Upon information and belief, Defendant has actively induced
    2   others to infringe the ’266 patent by marketing and selling the above Apple
    3   Watch Series 4 and 5 devices, knowing and intending that such systems would
    4   be used by customers and end users in a manner that infringes the ’266 patent.
    5   To that end, Defendant provides instructions and teachings to its customers and
    6   end users that such Apple Watch Series 4 and 5 devices be used to infringe the
    7   ’266 patent.    Defendant’s acts constitute infringement of the ’266 patent in
    8   violation of 35 U.S.C. § 271(b).
    9         62.      Upon information and belief, Defendant actively induces users to
   10   directly infringe the asserted claims of the ’266 patent. By way of example
   11   only, upon information and belief, Defendant actively induces direct
   12   infringement of the ’266 patent by providing directions, demonstrations, guides,
   13   manuals, training for use, and/or other materials necessary for the use of the
   14   Apple Watch Series 4 and 5 devices. Upon information and belief, Defendant
   15   knew or should have known that these activities would cause direct
   16   infringement.
   17         63.      Upon information and belief, Defendant’s acts constitute
   18   contributory infringement of the ’266 patent in violation of 35 U.S.C. § 271(c).
   19   Upon information and belief, Defendant contributorily infringes because, among
   20   other things, Defendant offers to sell and/or sells within the United States,
   21   and/or imports into the United States, components of the Apple Watch Series 4
   22   and 5 devices that constitute material parts of the invention of the asserted
   23   claims of the ’266 patent, are not staple articles or commodities of commerce
   24   suitable for substantial non-infringing use and are known by Defendant to be
   25   especially made or especially adapted for use in an infringement of the
   26   ’266 patent.
   27         64.      Defendant’s infringement of the ’266 patent is willful, deliberate,
   28   and intentional by continuing its acts of infringement after becoming aware of
                                                -17-
Case 8:20-cv-00048-JVS-JDE Document 1 Filed 01/09/20 Page 19 of 64 Page ID #:19




    1   the ’266 patent and its infringement thereof, thus acting in reckless disregard of
    2   Masimo’s patent rights.
    3         65.      Because of Defendant’s infringement of the ’266 patent, Masimo
    4   has suffered and will continue to suffer irreparable harm and injury, including
    5   monetary damages in an amount to be determined at trial.
    6         66.      Upon information and belief, unless enjoined, Defendant, and/or
    7   others acting on behalf of Defendant, will continue their infringing acts, thereby
    8   causing additional irreparable injury to Masimo for which there is no adequate
    9   remedy at law.
   10                         VIII. THIRD CAUSE OF ACTION
   11               (INFRINGEMENT OF U.S. PATENT NO. 10,292,628)
   12         67.      Plaintiff Masimo hereby realleges and incorporates by reference
   13   the allegations set forth in paragraphs 1 through 66.
   14         68.      Upon information and belief, Defendant’s products, including at
   15   least the Apple Watch Series 4 and 5 devices, infringe at least Claim 1 of the
   16   ’628 patent under at least 35 U.S.C. § 271(a), (b), and (c).
   17         69.      Upon information and belief, Defendant has directly infringed one
   18   or more claims of the ’628 patent through manufacture, use, sale, offer for sale,
   19   and/or importation into the United States of physiological monitors, including
   20   the Apple Watch Series 4 and 5 devices.
   21         70.      For example, upon information and belief, in operation, the Apple
   22   Watch Series 4 and 5 devices include all of the limitations of Claim 1 of the
   23   ’628 patent.
   24         71.      Analysis of the Apple Watch Series 4 and 5 devices show that the
   25   devices include a housing configured to house a plurality of detectors as
   26   described, for example, in Fig. 4C and the corresponding text of the ’912
   27   publication:
   28   ///
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Case 8:20-cv-00048-JVS-JDE Document 1 Filed 01/09/20 Page 20 of 64 Page ID #:20




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                72.   The Apple Watch Series 4 and 5 devices include a plurality of
   20
        emitters that emit light into tissue of a user and a plurality of detectors that
   21
        detect light that has been attenuated by tissue of the user as shown in the image
   22
        below     found   on   the   Apple   website   at   https://support.apple.com/en-
   23
        us/HT204666:
   24
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              73.      Analysis of the Apple Watch Series 4 and 5 devices shows that the

   12
        devices include a light permeable cover configured to be located between tissue

   13
        of the user and the plurality of detectors when the noninvasive optical

   14
        physiological sensor is worn by the user, wherein the cover comprises an

   15
        outwardly protruding convex surface configured to cause tissue of the user to

   16
        conform to at least a portion of the outwardly protruding convex surface when

   17
        the noninvasive optical physiological sensor is worn by the user and during

   18
        operation of the noninvasive optical physiological sensor, and wherein the

   19
        plurality of detectors are configured to receive light passed through the

   20
        outwardly protruding convex surface after attenuation by tissue of the user, as

   21
        described, for example, in Fig. 4C and the corresponding text of the ’912

   22
        publication:

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   16         75.    Upon information and belief, Defendant has knowledge of
   17   Masimo’s patents, including the ’628 patent, at least based on O’Reilly and
   18   Lamego’s former positions with Masimo and Cercacor.               Masimo filed
   19   provisional patent applications that led to the ’628 patent in August 2008, while
   20   O’Reilly and Lamego were with Masimo and/or Cercacor. Lamego is a named
   21   inventor of the ’628 patent. Defendant had knowledge of the ’628 patent no
   22   later than the filing of this Complaint.
   23         76.    Upon information and belief, Defendant has actively induced
   24   others to infringe the ’628 patent by marketing and selling the above Apple
   25   Watch Series 4 and 5 devices, knowing and intending that such systems would
   26   be used by customers and end users in a manner that infringes the ’628 patent.
   27   To that end, Defendant provides instructions and teachings to its customers and
   28   end users that such Apple Watch Series 4 and 5 devices be used to infringe the
                                                   -21-
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    1   ’628 patent.    Defendant’s acts constitute infringement of the ’628 patent in
    2   violation of 35 U.S.C. § 271(b).
    3         77.      Upon information and belief, Defendant actively induces users to
    4   directly infringe the asserted claims of the ’628 patent. By way of example
    5   only, upon information and belief, Defendant actively induces direct
    6   infringement of the ’628 patent by providing directions, demonstrations, guides,
    7   manuals, training for use, and/or other materials necessary for the use of the
    8   Apple Watch Series 4 and 5 devices, including use with Apple iPhones. Upon
    9   information and belief, Defendant knew or should have known that these
   10   activities would cause direct infringement.
   11         78.      Upon information and belief, Defendant’s acts constitute
   12   contributory infringement of the ’628 patent in violation of 35 U.S.C. § 271(c).
   13   Upon information and belief, Defendant contributorily infringes because, among
   14   other things, Defendant offers to sell and/or sells within the United States,
   15   and/or imports into the United States, components of the Apple Watch Series 4
   16   and 5 devices and Apple iPhones that constitute material parts of the invention
   17   of the asserted claims of the ’628 patent, are not staple articles or commodities
   18   of commerce suitable for substantial non-infringing use, and are known by
   19   Defendant to be especially made or especially adapted for use in an
   20   infringement of the ’628 patent.
   21         79.      Defendant’s infringement of the ’628 patent is willful, deliberate,
   22   and intentional by continuing its acts of infringement after becoming aware of
   23   the ’628 patent and its infringement thereof, thus acting in reckless disregard of
   24   Masimo’s patent rights.
   25         80.      Because of Defendant’s infringement of the ’628 patent, Masimo
   26   has suffered and will continue to suffer irreparable harm and injury, including
   27   monetary damages in an amount to be determined at trial.
   28   ///
                                                -22-
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    1         81.    Upon information and belief, unless enjoined, Defendant, and/or
    2   others acting on behalf of Defendant, will continue their infringing acts, thereby
    3   causing additional irreparable injury to Masimo for which there is no adequate
    4   remedy at law.
    5                        IX. FOURTH CAUSE OF ACTION
    6               (INFRINGEMENT OF U.S. PATENT NO. 10,299,708)
    7         82.    Plaintiff Masimo hereby realleges and incorporates by reference
    8   the allegations set forth in paragraphs 1 through 81.
    9         83.    Upon information and belief, Defendant’s products, including at
   10   least the Apple Watch Series 4 and 5 devices, infringe at least Claim 1 of the
   11   ’708 patent under at least 35 U.S.C. § 271(a), (b), and (c).
   12         84.    Upon information and belief, Defendant has directly infringed one
   13   or more claims of the ’708 patent through manufacture, use, sale, offer for sale,
   14   and/or importation into the United States of physiological monitors, including
   15   the Apple Watch Series 4 and 5 devices.
   16         85.    For example, upon information and belief, in operation, the Apple
   17   Watch Series 4 and 5 devices include all of the limitations of Claim 1 of the
   18   ’708 patent. The Apple Watch Series 4 and 5 devices are adapted to be worn by
   19   a wearer and provide an indication of a physiological parameter (for example,
   20   heart rate) of the wearer as shown in the image below found on the Apple
   21   website at https://www.apple.com/apple-watch-series-4/health/:
   22   ///
   23   ///
   24   ///
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   10         86.      Analysis of the Apple Watch Series 4 and 5 devices show that the
   11   devices include a platform including a planar surface, a housing including a
   12   raised edge portion extending from and enclosing at least a portion of the planar
   13   surface, and the housing including a protruding light permeable cover as
   14   described, for example, in Fig. 4C and the corresponding text of the ’912
   15   publication:
   16   ///
   17   ///
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                                     87.
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              88.    Upon information and belief, the Apple Watch Series 4 and 5
   15
        devices include at least four detectors (for example, photodiode sensors)
   16
        arranged on the planar surface of the platform and within the housing, wherein
   17
        the at least four detectors are arranged in a grid pattern such that a first detector
   18
        and a second detector are arranged across from each other on opposite sides of a
   19
        central point along a first axis, and a third detector and a fourth detector are
   20
        arranged across from each other on opposite sides of the central point along a
   21
        second axis which is perpendicular to the first axis as shown in the image below
   22
        found on the Apple website at https://support.apple.com/en-us/HT204666:
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              89.      Upon information and belief, Defendant has knowledge of

   12
        Masimo’s patents, including the ’708 patent, at least based on O’Reilly and

   13
        Lamego’s former positions with Masimo and Cercacor.               Masimo filed

   14
        provisional patent applications that led to the ’708 patent in August 2008, while

   15
        O’Reilly and Lamego were with Masimo and/or Cercacor. Lamego is a named

   16
        inventor of the ’708 patent. Defendant had knowledge of the ’708 patent no

   17
        later than the filing of this Complaint.

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              90.      Upon information and belief, Defendant has actively induced

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        others to infringe the ’708 patent by marketing and selling the above Apple

   20
        Watch Series 4 and 5 devices, knowing and intending that such systems would

   21
        be used by customers and end users in a manner that infringes the ’708 patent.

   22
        To that end, Defendant provides instructions and teachings to its customers and

   23
        end users that such Apple Watch Series 4 and 5 devices be used to infringe the

   24
        ’708 patent.    Defendant’s acts constitute infringement of the ’708 patent in

   25
        violation of 35 U.S.C. § 271(b).

   26
              91.      Upon information and belief, Defendant actively induces users to

   27
        directly infringe the asserted claims of the ’708 patent. By way of example

   28
        only, upon information and belief, Defendant actively induces direct

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    1   infringement of the ’708 patent by providing directions, demonstrations, guides,
    2   manuals, training for use, and/or other materials necessary for the use of the
    3   Apple Watch Series 4 and 5 devices, including use with Apple iPhones. Upon
    4   information and belief, Defendant knew or should have known that these
    5   activities would cause direct infringement.
    6         92.    Upon information and belief, Defendant’s acts constitute
    7   contributory infringement of the ’708 patent in violation of 35 U.S.C. § 271(c).
    8   Upon information and belief, Defendant contributorily infringes because, among
    9   other things, Defendant offers to sell and/or sells within the United States,
   10   and/or imports into the United States, components of the Apple Watch Series 4
   11   and 5 devices and Apple iPhones that constitute material parts of the invention
   12   of the asserted claims of the ’708 patent, are not staple articles or commodities
   13   of commerce suitable for substantial non-infringing use, and are known by
   14   Defendant to be especially made or especially adapted for use in an
   15   infringement of the ’708 patent.
   16         93.    Defendant’s infringement of the ’708 patent is willful, deliberate,
   17   and intentional by continuing its acts of infringement after becoming aware of
   18   the ’708 patent and its infringement thereof, thus acting in reckless disregard of
   19   Masimo’s patent rights.
   20         94.    Because of Defendant’s infringement of the ’708 patent, Masimo
   21   has suffered and will continue to suffer irreparable harm and injury, including
   22   monetary damages in an amount to be determined at trial.
   23         95.    Upon information and belief, unless enjoined, Defendant, and/or
   24   others acting on behalf of Defendant, will continue their infringing acts, thereby
   25   causing additional irreparable injury to Masimo for which there is no adequate
   26   remedy at law.
   27   ///
   28   ///
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    1                          X. FIFTH CAUSE OF ACTION
    2               (INFRINGEMENT OF U.S. PATENT NO. 10,376,190)
    3         96.    Plaintiff Masimo hereby realleges and incorporates by reference
    4   the allegations set forth in paragraphs 1 through 95.
    5         97.    Upon information and belief, Defendant’s products, including at
    6   least the Apple Watch Series 4 and 5 devices, infringe at least Claim 1 of the
    7   ’190 patent under at least 35 U.S.C. § 271(a), (b), and (c).
    8         98.    Upon information and belief, Defendant has directly infringed one
    9   or more claims of the ’190 patent through manufacture, use, sale, offer for sale,
   10   and/or importation into the United States of physiological monitors, including
   11   the Apple Watch Series 4 and 5 devices.
   12         99.    For example, upon information and belief, in operation, the Apple
   13   Watch Series 4 and 5 devices include all of the limitations of Claim 1 of the
   14   ’190 patent. The Apple Watch Series 4 and 5 devices are noninvasive optical
   15   physiological measurement devices adapted to be worn by a wearer, the
   16   noninvasive optical physiological measurement device providing an indication
   17   of a physiological parameter (for example, heart rate) of the wearer as shown in
   18   the image below found on the Apple website at https://www.apple.com/apple-
   19   watch-series-4/health/:
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    1           100. Upon information and belief, the Apple Watch Series 4 and 5
    2   devices include light emitters and at least four detectors spaced apart from each
    3   other and configured to output one or more signals responsive to light from the
    4   one or more light emitters attenuated by body tissue, the one or more signals
    5   indicative of a physiological parameter of the wearer as shown in the image
    6   below     found   on   the   Apple   website   at   https://support.apple.com/en-
    7   us/HT204666:
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                101. Analysis of the Apple Watch Series 4 and 5 devices show that the

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        devices include a housing having a surface and a circular raised edge extending

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        from the surface, and a light permeable cover arranged above at least a portion

   21
        of the housing, the light permeable cover comprising a protrusion arranged to

   22
        cover the at least four detectors as described, for example, in Fig. 4C and the

   23
        corresponding text of the ’912 publication:

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   16         102. Upon information and belief, Defendant has knowledge of
   17   Masimo’s patents, including the ’190 patent, at least based on O’Reilly and
   18   Lamego’s former positions with Masimo and Cercacor.               Masimo filed
   19   provisional patent applications that led to the ’190 patent in August 2008, while
   20   O’Reilly and Lamego were with Masimo and/or Cercacor. Lamego is a named
   21   inventor of the ’190 patent. Defendant had knowledge of the ’190 patent no
   22   later than the filing of this Complaint.
   23         103. Upon information and belief, Defendant has actively induced
   24   others to infringe the ’190 patent by marketing and selling the above Apple
   25   Watch Series 4 and 5 devices, knowing and intending that such systems would
   26   be used by customers and end users in a manner that infringes the ’190 patent.
   27   To that end, Defendant provides instructions and teachings to its customers and
   28   end users that such Apple Watch Series 4 and 5 devices be used to infringe the
                                                   -30-
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    1   ’190 patent.   Defendant’s acts constitute infringement of the ’190 patent in
    2   violation of 35 U.S.C. § 271(b).
    3         104. Upon information and belief, Defendant actively induces users to
    4   directly infringe the asserted claims of the ’190 patent. By way of example
    5   only, upon information and belief, Defendant actively induces direct
    6   infringement of the ’190 patent by providing directions, demonstrations, guides,
    7   manuals, training for use, and/or other materials necessary for the use of the
    8   Apple Watch Series 4 and 5 devices, including use with Apple iPhones. Upon
    9   information and belief, Defendant knew or should have known that these
   10   activities would cause direct infringement.
   11         105. Upon information and belief, Defendant’s acts constitute
   12   contributory infringement of the ’190 patent in violation of 35 U.S.C. § 271(c).
   13   Upon information and belief, Defendant contributorily infringes because, among
   14   other things, Defendant offers to sell and/or sells within the United States,
   15   and/or imports into the United States, components of the Apple Watch Series 4
   16   and 5 devices and Apple iPhones that constitute material parts of the invention
   17   of the asserted claims of the ’190 patent, are not staple articles or commodities
   18   of commerce suitable for substantial non-infringing use, and are known by
   19   Defendant to be especially made or especially adapted for use in an
   20   infringement of the ’190 patent.
   21         106. Defendant’s infringement of the ’190 patent is willful, deliberate,
   22   and intentional by continuing its acts of infringement after becoming aware of
   23   the ’190 patent and its infringement thereof, thus acting in reckless disregard of
   24   Masimo’s patent rights.
   25         107. Because of Defendant’s infringement of the ’190 patent, Masimo
   26   has suffered and will continue to suffer irreparable harm and injury, including
   27   monetary damages in an amount to be determined at trial.
   28   ///
                                              -31-
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    1         108. Upon information and belief, unless enjoined, Defendant, and/or
    2   others acting on behalf of Defendant, will continue their infringing acts, thereby
    3   causing additional irreparable injury to Masimo for which there is no adequate
    4   remedy at law.
    5                          XI. SIXTH CAUSE OF ACTION
    6              (INFRINGEMENT OF U.S. PATENT NO. 10,376,191)
    7         109. Plaintiff Masimo hereby realleges and incorporates by reference
    8   the allegations set forth in paragraphs 1 through 108.
    9         110. Upon information and belief, Defendant’s products, including at
   10   least the Apple Watch Series 4 and 5 devices, infringe at least Claim 1 of the
   11   ’191 patent under at least 35 U.S.C. § 271(a), (b), and (c).
   12         111. Upon information and belief, Defendant has directly infringed one
   13   or more claims of the ’191 patent through manufacture, use, sale, offer for sale,
   14   and/or importation into the United States of physiological monitors, including
   15   the Apple Watch Series 4 and 5 devices.
   16         112. For example, upon information and belief, in operation, the Apple
   17   Watch Series 4 and 5 devices include all of the limitations of Claim 1 of the
   18   ’191 patent. The Apple Watch Series 4 and 5 devices are a noninvasive optical
   19   physiological sensor as shown in the image below found on the Apple website
   20   at https://www.apple.com/apple-watch-series-4/health/:
   21   ///
   22   ///
   23   ///
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   10           113. The Apple Watch Series 4 and 5 devices include a plurality of
   11   emitters configured to emit light into tissue of a user and a plurality of detectors
   12   configured to detect light that has been attenuated by tissue of the user, wherein
   13   the plurality of detectors comprise at least four detectors as shown in the image
   14   below     found   on   the   Apple    website   at   https://support.apple.com/en-
   15   us/HT204666:
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   26           114. Analysis of the Apple Watch Series 4 and 5 devices show that the
   27   devices include a housing configured to house at least the plurality of detectors
   28   in a circular portion of the housing, and a lens configured to be located between
                                               -33-
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    1   tissue of the user and the plurality of detectors when the noninvasive optical
    2   physiological sensor is worn by the user, wherein the lens comprises a single
    3   outwardly protruding convex surface configured to cause tissue of the user to
    4   conform to at least a portion of the single outwardly protruding convex surface
    5   when the noninvasive optical physiological sensor is worn by the user and
    6   during operation of the noninvasive optical physiological sensor as described,
    7   for example, in Fig. 4C and the corresponding text of the ’912 publication:
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   24         115. Upon information and belief, Defendant has knowledge of
   25   Masimo’s patents, including the ’191 patent, at least based on O’Reilly and
   26   Lamego’s former positions with Masimo and Cercacor.               Masimo filed
   27   provisional patent applications that led to the ’191 patent in August 2008, while
   28   O’Reilly and Lamego were with Masimo and/or Cercacor. Lamego is a named
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    1   inventor of the ’191 patent. Defendant had knowledge of the ’191 patent no
    2   later than the filing of this Complaint.
    3         116. Upon information and belief, Defendant has actively induced
    4   others to infringe the ’191 patent by marketing and selling the above Apple
    5   Watch Series 4 and 5 devices, knowing and intending that such systems would
    6   be used by customers and end users in a manner that infringes the ’191 patent.
    7   To that end, Defendant provides instructions and teachings to its customers and
    8   end users that such Apple Watch Series 4 and 5 devices be used to infringe the
    9   ’191 patent.    Defendant’s acts constitute infringement of the ’191 patent in
   10   violation of 35 U.S.C. § 271(b).
   11         117. Upon information and belief, Defendant actively induces users to
   12   directly infringe the asserted claims of the ’191 patent. By way of example
   13   only, upon information and belief, Defendant actively induces direct
   14   infringement of the ’191 patent by providing directions, demonstrations, guides,
   15   manuals, training for use, and/or other materials necessary for the use of the
   16   Apple Watch Series 4 and 5 devices. Upon information and belief, Defendant
   17   knew or should have known that these activities would cause direct
   18   infringement.
   19         118. Upon information and belief, Defendant’s acts constitute
   20   contributory infringement of the ’191 patent in violation of 35 U.S.C. § 271(c).
   21   Upon information and belief, Defendant contributorily infringes because, among
   22   other things, Defendant offers to sell and/or sells within the United States,
   23   and/or imports into the United States, components of the Apple Watch Series 4
   24   and 5 devices that constitute material parts of the invention of the asserted
   25   claims of the ’191 patent, are not staple articles or commodities of commerce
   26   suitable for substantial non-infringing use, and are known by Defendant to be
   27   especially made or especially adapted for use in an infringement of the
   28   ’191 patent.
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    1         119. Defendant’s infringement of the ’191 patent is willful, deliberate,
    2   and intentional by continuing its acts of infringement after becoming aware of
    3   the ’191 patent and its infringement thereof, thus acting in reckless disregard of
    4   Masimo’s patent rights.
    5         120. Because of Defendant’s infringement of the ’191 patent, Masimo
    6   has suffered and will continue to suffer irreparable harm and injury, including
    7   monetary damages in an amount to be determined at trial.
    8         121. Upon information and belief, unless enjoined, Defendant, and/or
    9   others acting on behalf of Defendant, will continue their infringing acts, thereby
   10   causing additional irreparable injury to Masimo for which there is no adequate
   11   remedy at law.
   12                        XII. SEVENTH CAUSE OF ACTION
   13              (INFRINGEMENT OF U.S. PATENT NO. 10,470,695)
   14         122. Plaintiff Masimo hereby realleges and incorporates by reference
   15   the allegations set forth in paragraphs 1 through 121.
   16         123. Upon information and belief, Defendant’s products, including at
   17   least the Apple Watch Series 4 and 5 devices, infringe at least Claim 1 of the
   18   ’695 patent under at least 35 U.S.C. § 271(a), (b), and (c).
   19         124. Upon information and belief, Defendant has directly infringed one
   20   or more claims of the ’695 patent through manufacture, use, sale, offer for sale,
   21   and/or importation into the United States of physiological monitors, including
   22   the Apple Watch Series 4 and 5 devices.
   23         125. For example, upon information and belief, in operation, the Apple
   24   Watch Series 4 and 5 devices include all of the limitations of Claim 1 of the
   25   ’695 patent.     The Apple Watch Series 4 and 5 devices are a wrist-worn
   26   physiological monitoring device configured for placement on a user at a tissue
   27   measurement site as shown in the image below found on the Apple website at
   28   https://www.apple.com/apple-watch-series-4/health/:
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   10         126. The Apple Watch Series 4 and 5 devices include a light emission
   11   source comprising a plurality of emitters configured to irradiate the tissue
   12   measurement site by emitting light towards the tissue measurement site, the
   13   tissue measurement site being located on a wrist of the user, the plurality of
   14   emitters configured to emit one or more wavelengths and a plurality of detectors
   15   configured to detect the light emitted by the plurality of emitters after
   16   attenuation by a circular portion of the tissue measurement site, the plurality of
   17   detectors further configured to output at least one signal responsive to the
   18   detected light as shown in the image below found on the Apple website at
   19   https://support.apple.com/en-us/HT204666:
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    1         127. Analysis of the Apple Watch Series 4 and 5 devices show that the
    2   devices include a processor configured to receive the at least one signal
    3   responsive to the output and determine a physiological parameter of the user and
    4   a light block forming an enclosing wall between the light emission source and
    5   the plurality of detectors, the light block defining the circular portion of the
    6   tissue measurement site, the light emission source arranged proximate a first
    7   side of the enclosing wall and the plurality of detectors arranged proximate a
    8   second side of the enclosing wall, the first side being different than the second
    9   side, wherein the enclosing wall prevents at least a portion of light emitted from
   10   the light emission source from being detected by the plurality of detectors
   11   without attenuation by the tissue, and wherein the plurality of detectors are
   12   arranged in an array having a spatial configuration corresponding to the portion
   13   of the tissue measurement site as described, for example, in Fig. 4C and the
   14   corresponding text of the ’912 publication:
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    1         128. Upon information and belief, Defendant has knowledge of
    2   Masimo’s patents, including the ’695 patent, at least based on O’Reilly and
    3   Lamego’s former positions with Masimo and Cercacor.               Masimo filed
    4   provisional patent applications that led to the ’695 patent in August 2008, while
    5   O’Reilly and Lamego were with Masimo and/or Cercacor. Lamego is a named
    6   inventor of the ’695 patent. Defendant had knowledge of the ’695 patent no
    7   later than the filing of this Complaint.
    8         129. Upon information and belief, Defendant has actively induced
    9   others to infringe the ’695 patent by marketing and selling the above Apple
   10   Watch Series 4 and 5 devices, knowing and intending that such systems would
   11   be used by customers and end users in a manner that infringes the ’695 patent.
   12   To that end, Defendant provides instructions and teachings to its customers and
   13   end users that such Apple Watch Series 4 and 5 devices be used to infringe the
   14   ’695 patent.    Defendant’s acts constitute infringement of the ’695 patent in
   15   violation of 35 U.S.C. § 271(b).
   16         130. Upon information and belief, Defendant actively induces users to
   17   directly infringe the asserted claims of the ’695 patent. By way of example
   18   only, upon information and belief, Defendant actively induces direct
   19   infringement of the ’695 patent by providing directions, demonstrations, guides,
   20   manuals, training for use, and/or other materials necessary for the use of the
   21   Apple Watch Series 4 and 5 devices. Upon information and belief, Defendant
   22   knew or should have known that these activities would cause direct
   23   infringement.
   24         131. Upon information and belief, Defendant’s acts constitute
   25   contributory infringement of the ’695 patent in violation of 35 U.S.C. § 271(c).
   26   Upon information and belief, Defendant contributorily infringes because, among
   27   other things, Defendant offers to sell and/or sells within the United States,
   28   and/or imports into the United States, components of the Apple Watch Series 4
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    1   and 5 devices that constitute material parts of the invention of the asserted
    2   claims of the ’695 patent, are not staple articles or commodities of commerce
    3   suitable for substantial non-infringing use, and are known by Defendant to be
    4   especially made or especially adapted for use in an infringement of the
    5   ’695 patent.
    6         132. Defendant’s infringement of the ’695 patent is willful, deliberate,
    7   and intentional by continuing its acts of infringement after becoming aware of
    8   the ’695 patent and its infringement thereof, thus acting in reckless disregard of
    9   Masimo’s patent rights.
   10         133. Because of Defendant’s infringement of the ’695 patent, Masimo
   11   has suffered and will continue to suffer irreparable harm and injury, including
   12   monetary damages in an amount to be determined at trial.
   13         134. Upon information and belief, unless enjoined, Defendant, and/or
   14   others acting on behalf of Defendant, will continue their infringing acts, thereby
   15   causing additional irreparable injury to Masimo for which there is no adequate
   16   remedy at law.
   17                       XIII. EIGHTH CAUSE OF ACTION
   18               (INFRINGEMENT OF U.S. PATENT NO. 6,771,994)
   19         135. Plaintiff Masimo hereby realleges and incorporates by reference
   20   the allegations set forth in paragraphs 1 through 134.
   21         136. Upon information and belief, Defendant’s products, including at
   22   least the Apple Watch Series 4 and 5 devices, infringe at least Claim 15 of the
   23   ’994 patent under at least 35 U.S.C. § 271(a), (b), and (c).
   24         137. Upon information and belief, Defendant has directly infringed one
   25   or more claims of the ’994 patent through manufacture, use, sale, offer for sale,
   26   and/or importation into the United States of physiological monitors, including
   27   the Apple Watch Series 4 and 5 devices.
   28   ///
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    1         138. For example, upon information and belief, in operation, the Apple
    2   Watch Series 4 and 5 devices include all of the limitations of Claim 15 of the
    3   ’994 patent. Upon information and belief, the Apple Watch Series 4 and 5
    4   devices detects light transmitted through body tissue carrying pulsing blood to
    5   determine heart rate as shown in the image below found on the Apple website at
    6   https://www.apple.com/apple-watch-series-4/health/:
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   16         139. The Apple Watch Series 4 and 5 devices include at least one light
   17   emission device and a light sensitive detector as shown in the image below
   18   found on the Apple website at https://support.apple.com/en-us/HT204666:
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    1         140. The detectors output signals responsive to light from the light
    2   emitters attenuated by body tissue. Upon information and belief, the signals are
    3   indicative of a physiological parameter (for example, heart rate) of the wearer.
    4         141. Upon information and belief, at least some of the technology in the
    5   Apple Watch Series 4 and 5 devices is described in U.S. Patent Application
    6   Publication 2019/0090806 (the ’806 publication). A copy of the publication is
    7   attached as Exhibit 12. Analysis of the Apple Watch Series 4 and 5 devices
    8   show that the devices include a plurality of louvers positioned over the light
    9   sensitive detector to accept light from the at least one light emission device
   10   originating from a general direction of the at least one light emission device and
   11   then transmitting through body tissue carrying pulsing blood, wherein the
   12   louvers accept the light when the sensor is properly applied to tissue of a
   13   patient. Upon information and belief, this technology is described, for example,
   14   in Fig. 7 and the corresponding text of the ’806 publication:
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   18         142. Upon information and belief, Defendant has knowledge of
   19   Masimo’s patents, including the ’994 patent, at least based on O’Reilly and
   20   Lamego’s former positions with Masimo and Cercacor. Masimo filed a patent
   21   application that led to the ’994 patent on June 16, 2000. The ’994 patent issued
   22   on August 3, 2004, and Masimo has maintained the patent while O’Reilly and
   23   Lamego were with Masimo and/or Cercacor. Defendant had knowledge of the
   24   ’994 patent no later than the filing of this Complaint.
   25         143. Upon information and belief, Defendant has actively induced
   26   others to infringe the ’994 patent by marketing and selling the above Apple
   27   Watch Series 4 and 5 devices, knowing and intending that such systems would
   28   be used by customers and end users in a manner that infringes the ’994 patent.
                                            -42-
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    1   To that end, Defendant provides instructions and teachings to its customers and
    2   end users that such Apple Watch Series 4 and 5 devices be used to infringe the
    3   ’994 patent.    Defendant’s acts constitute infringement of the ’994 patent in
    4   violation of 35 U.S.C. § 271(b).
    5         144. Upon information and belief, Defendant actively induces users to
    6   directly infringe the asserted claims of the ’994 patent. By way of example
    7   only, upon information and belief, Defendant actively induces direct
    8   infringement of the ’994 patent by providing directions, demonstrations, guides,
    9   manuals, training for use, and/or other materials necessary for the use of the
   10   Apple Watch Series 4 and 5 devices. Upon information and belief, Defendant
   11   knew or should have known that these activities would cause direct
   12   infringement.
   13         145. Upon information and belief, Defendant’s acts constitute
   14   contributory infringement of the ’994 patent in violation of 35 U.S.C. § 271(c).
   15   Upon information and belief, Defendant contributorily infringes because, among
   16   other things, Defendant offers to sell and/or sells within the United States,
   17   and/or imports into the United States, components of the Apple Watch Series 4
   18   and 5 devices that constitute material parts of the invention of the asserted
   19   claims of the ’994 patent, are not staple articles or commodities of commerce
   20   suitable for substantial non-infringing use, and are known by Defendant to be
   21   especially made or especially adapted for use in an infringement of the
   22   ’994 patent.
   23         146. Defendant’s infringement of the ’994 patent is willful, deliberate,
   24   and intentional by continuing its acts of infringement after becoming aware of
   25   the ’994 patent and its infringement thereof, thus acting in reckless disregard of
   26   Masimo’s patent rights.
   27   ///
   28   ///
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    1         147. Because of Defendant’s infringement of the ’994 patent, Masimo
    2   has suffered and will continue to suffer irreparable harm and injury, including
    3   monetary damages in an amount to be determined at trial.
    4         148. Upon information and belief, unless enjoined, Defendant, and/or
    5   others acting on behalf of Defendant, will continue their infringing acts, thereby
    6   causing additional irreparable injury to Masimo for which there is no adequate
    7   remedy at law.
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    9                        XIV. NINTH CAUSE OF ACTION
   10               (INFRINGEMENT OF U.S. PATENT NO. 8,457,703)
   11         149. Plaintiff Masimo hereby realleges and incorporates by reference
   12   the allegations set forth in paragraphs 1 through 148.
   13         150. Upon information and belief, Defendant’s products, including at
   14   least the Apple Watch Series 4 and 5 devices, infringe at least Claim 1 of the
   15   ’703 patent under at least 35 U.S.C. § 271(a), (b), and (c).
   16         151. Upon information and belief, Defendant has directly infringed one
   17   or more claims of the ’703 patent through manufacture, use, sale, offer for sale,
   18   and/or importation into the United States of physiological monitors, including
   19   the Apple Watch Series 4 and 5 devices.
   20         152. For example, upon information and belief, in operation, the Apple
   21   Watch Series 4 and 5 devices include all of the limitations of Claim 1 of the
   22   ’703 patent. The Apple Watch Series 4 and 5 devices provide an indication of a
   23   physiological parameter (for example, heart rate) of the wearer as shown in the
   24   image below found on the Apple website at https://www.apple.com/apple-
   25   watch-series-4/health/:
   26   ///
   27   ///
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   10          153. The Apple Watch Series 4 and 5 devices drive one or more light
   11   sources configured to emit light into tissue and receives one or more signals
   12   from one or more detectors configured to detect light after attenuation by tissue
   13   as    shown   in   the   image   below   found    on   the   Apple    website      at
   14   https://support.apple.com/en-us/HT204666:
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   25          154. The detectors output signals responsive to light from the light
   26   emitters attenuated by body tissue. Upon information and belief, the signals are
   27   indicative of a physiological parameter (for example, heart rate) of the wearer.
   28   ///
                                               -45-
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    1         155. Upon information and belief, the Apple Watch Series 4 and 5
    2   devices continuously operate at a lower power consumption level to determine
    3   measurement values for heart rate, as described at https://support.apple.com/en-
    4   us/HT204666:
    5         The optical heart sensor in Apple Watch uses what is known as
    6         photoplethysmography.     This    technology,   while    difficult   to
    7         pronounce, is based on a very simple fact: Blood is red because it
    8         reflects red light and absorbs green light. Apple Watch uses green
    9         LED lights paired with light‑sensitive photodiodes to detect the
   10         amount of blood flowing through your wrist at any given moment.
   11         When your heart beats, the blood flow in your wrist — and the
   12         green light absorption — is greater. Between beats, it’s less. By
   13         flashing its LED lights hundreds of times per second, Apple Watch
   14         can calculate the number of times the heart beats each minute —
   15         your heart rate. The optical heart sensor supports a range of 30–210
   16         beats per minute. In addition, the optical heart sensor is designed to
   17         compensate for low signal levels by increasing both LED
   18         brightness and sampling rate.
   19         156. Upon information and belief, the Apple Watch Series 4 and 5
   20   devices as described above compare processing characteristics to a
   21   predetermined threshold, and when the processing characteristics pass the
   22   threshold, the Apple Watch Series 4 and 5 devices transition to continuously
   23   operating at a higher power consumption level, wherein the continuously
   24   operating at the lower power consumption level comprises reducing activation
   25   of an attached sensor, the sensor positioning the light sources and the detectors
   26   proximate to the tissue.
   27         157. Masimo filed a provisional patent application that led to the
   28   ’703 patent on July 2, 2001, The ’703 patent issued on June 4, 2013, while
                                               -46-
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    1   while O’Reilly and Lamego were with Masimo and/or Cercacor. Defendant had
    2   knowledge of the ’703 patent no later than the filing of this Complaint.
    3         158. Upon information and belief, Defendant has actively induced
    4   others to infringe the ’703 patent by marketing and selling the above Apple
    5   Watch Series 4 and 5 devices, knowing and intending that such systems would
    6   be used by customers and end users in a manner that infringes the ’703 patent.
    7   To that end, Defendant provides instructions and teachings to its customers and
    8   end users that such Apple Watch Series 4 and 5 devices be used to infringe the
    9   ’703 patent.    Defendant’s acts constitute infringement of the ’703 patent in
   10   violation of 35 U.S.C. § 271(b).
   11         159. Upon information and belief, Defendant actively induces users to
   12   directly infringe the asserted claims of the ’703 patent. By way of example
   13   only, upon information and belief, Defendant actively induces direct
   14   infringement of the ’703 patent by providing directions, demonstrations, guides,
   15   manuals, training for use, and/or other materials necessary for the use of the
   16   Apple Watch Series 4 and 5 devices. Upon information and belief, Defendant
   17   knew or should have known that these activities would cause direct
   18   infringement.
   19         160. Upon information and belief, Defendant’s acts constitute
   20   contributory infringement of the ’703 patent in violation of 35 U.S.C. § 271(c).
   21   Upon information and belief, Defendant contributorily infringes because, among
   22   other things, Defendant offers to sell and/or sells within the United States,
   23   and/or imports into the United States, components of the Apple Watch Series 4
   24   and 5 devices that constitute material parts of the invention of the asserted
   25   claims of the ’703 patent, are not staple articles or commodities of commerce
   26   suitable for substantial non-infringing use, and are known by Defendant to be
   27   especially made or especially adapted for use in an infringement of the
   28   ’703 patent.
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    1         161. Defendant’s infringement of the ’703 patent is willful, deliberate,
    2   and intentional by continuing its acts of infringement after becoming aware of
    3   the ’703 patent and its infringement thereof, thus acting in reckless disregard of
    4   Masimo’s patent rights.
    5         162. Because of Defendant’s infringement of the ’703 patent, Masimo
    6   has suffered and will continue to suffer irreparable harm and injury, including
    7   monetary damages in an amount to be determined at trial.
    8         163. Upon information and belief, unless enjoined, Defendant, and/or
    9   others acting on behalf of Defendant, will continue their infringing acts, thereby
   10   causing additional irreparable injury to Masimo for which there is no adequate
   11   remedy at law.
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   13                         XV. TENTH CAUSE OF ACTION
   14              (INFRINGEMENT OF U.S. PATENT NO. 10,433,776)
   15         164. Plaintiff Masimo hereby realleges and incorporates by reference
   16   the allegations set forth in paragraphs 1 through 163.
   17         165. Upon information and belief, Defendant’s products, including at
   18   least the Apple Watch Series 4 and 5 devices, infringe at least Claim 1 of the
   19   ’776 patent under at least 35 U.S.C. § 271(a), (b), and (c).
   20         166. Upon information and belief, Defendant has directly infringed one
   21   or more claims of the ’776 patent through manufacture, use, sale, offer for sale,
   22   and/or importation into the United States of physiological monitors, including
   23   the Apple Watch Series 4 and 5 devices.
   24         167. For example, upon information and belief, in operation, the Apple
   25   Watch Series 4 and 5 devices include all of the limitations of Claim 1 of the
   26   ’776 patent. The Apple Watch Series 4 and 5 devices are configured to monitor
   27   at least a pulse rate of a patient by processing signals responsive to light
   28   ///
                                                -48-
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    1         168. attenuated by body tissue of the wearer as shown in the image
    2   below found on the Apple website at https://www.apple.com/apple-watch-
    3   series-4/health/:
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   13         169. The Apple Watch Series 4 and 5 devices drive one or more light
   14   sources configured to emit light into tissue and receives one or more signals
   15   from one or more detectors configured to detect light after attenuation by tissue
   16   as   shown    in    the   image   below   found   on   the   Apple   website   at
   17   https://support.apple.com/en-us/HT204666:
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    1         170. Upon information and belief, the Apple Watch Series 4 and 5
    2   devices operate according to a first control protocol, wherein said operating
    3   includes activating a first control protocol light source in accordance with the
    4   first control protocol, the first control protocol light source including one or
    5   more of a plurality of light sources, and when operating according to the first
    6   control protocol, calculating, by the patient monitor, measurement values of the
    7   pulse rate, the measurement values responsive to light from the first control
    8   protocol light source, detected by a detector of an optical sensor after
    9   attenuation by body tissue of the patient using the patient monitor as explained,
   10   for   example,   on   the   Apple   website    at   https://support.apple.com/en-
   11   us/HT204666.      That webpage explains the optical heart sensor uses
   12   photoplethysmography. “Apple Watch uses green LED lights paired with
   13   light‑sensitive photodiodes to detect the amount of blood flowing through your
   14   wrist at any given moment. When your heart beats, the blood flow in your wrist
   15   — and the green light absorption — is greater. Between beats, it’s less. By
   16   flashing its LED lights hundreds of times per second, Apple Watch can calculate
   17   the number of times the heart beats each minute — your heart rate. The optical
   18   heart sensor supports a range of 30–210 beats per minute. In addition, the
   19   optical heart sensor is designed to compensate for low signal levels by
   20   increasing both LED brightness and sampling rate.” That webpage further
   21   explains that the “optical heart sensor can also use infrared light. This mode is
   22   what Apple Watch uses when it measures your heart rate in the background, and
   23   for heart rate notifications. Apple Watch uses green LED lights to measure your
   24   heart rate during workouts and Breathe sessions, and to calculate walking
   25   average and Heart Rate Variability (HRV).”
   26         171. Upon information and belief, the Apple Watch Series 4 and 5
   27   devices operate generate a trigger signal, wherein generating said trigger signal
   28   is responsive to at least one of: a comparison of processing characteristics to a
                                              -50-
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    1   predetermined threshold, a physiological event, or signal quality characteristics
    2   of signals received from the detector, and in response to receiving the trigger
    3   signal, operating the patient monitor according to a second control protocol
    4   different from the first control protocol, wherein said operating includes
    5   activating a second control protocol light source in accordance with the second
    6   control protocol, the second control protocol light source including one or more
    7   of the plurality of light sources, and when operating the patient monitor
    8   according to the second control protocol, calculating the measurement values of
    9   the pulse rate, the measurement values responsive to light from the second
   10   control protocol light source, detected by the detector after attenuation by the
   11   body tissue of the patient using the patient monitor, wherein said operating of
   12   the patient monitor according to the first control protocol operates the first
   13   control protocol light source according to a first duty cycle and said operating of
   14   the patient monitor according to the second control protocol operates the second
   15   control protocol light source according to a second duty cycle, wherein power
   16   consumption of the first control protocol light source according to the first duty
   17   cycle is different than power consumption of the second control protocol light
   18   source according to the second duty cycle.
   19         172. Upon information and belief, Defendant has knowledge of
   20   Masimo’s patents, including the ’776 patent, at least based on O’Reilly and
   21   Lamego’s former positions with Masimo and Cercacor.              Masimo filed a
   22   provisional patent application that led to the ’776 patent on July 2, 2001, The
   23   ’776 patent issued on June 4, 2013, while while O’Reilly and Lamego were with
   24   Masimo and/or Cercacor. Defendant had knowledge of the ’776 patent no later
   25   than the filing of this Complaint.
   26         173. Upon information and belief, Defendant has actively induced
   27   others to infringe the ’776 patent by marketing and selling the above Apple
   28   Watch Series 4 and 5 devices, knowing and intending that such systems would
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    1   be used by customers and end users in a manner that infringes the ’776 patent.
    2   To that end, Defendant provides instructions and teachings to its customers and
    3   end users that such Apple Watch Series 4 and 5 devices be used to infringe the
    4   ’776 patent.    Defendant’s acts constitute infringement of the ’776 patent in
    5   violation of 35 U.S.C. § 271(b).
    6         174. Upon information and belief, Defendant actively induces users to
    7   directly infringe the asserted claims of the ’776 patent. By way of example
    8   only, upon information and belief, Defendant actively induces direct
    9   infringement of the ’776 patent by providing directions, demonstrations, guides,
   10   manuals, training for use, and/or other materials necessary for the use of the
   11   Apple Watch Series 4 and 5 devices. Upon information and belief, Defendant
   12   knew or should have known that these activities would cause direct
   13   infringement.
   14         175. Upon information and belief, Defendant’s acts constitute
   15   contributory infringement of the ’776 patent in violation of 35 U.S.C. § 271(c).
   16   Upon information and belief, Defendant contributorily infringes because, among
   17   other things, Defendant offers to sell and/or sells within the United States,
   18   and/or imports into the United States, components of the Apple Watch Series 4
   19   and 5 devices that constitute material parts of the invention of the asserted
   20   claims of the ’776 patent, are not staple articles or commodities of commerce
   21   suitable for substantial non-infringing use, and are known by Defendant to be
   22   especially made or especially adapted for use in an infringement of the
   23   ’776 patent.
   24         176. Defendant’s infringement of the ’776 patent is willful, deliberate,
   25   and intentional by continuing its acts of infringement after becoming aware of
   26   the ’776 patent and its infringement thereof, thus acting in reckless disregard of
   27   Masimo’s patent rights.
   28   ///
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    1          177. Because of Defendant’s infringement of the ’776 patent, Masimo
    2   has suffered and will continue to suffer irreparable harm and injury, including
    3   monetary damages in an amount to be determined at trial.
    4          178. Upon information and belief, unless enjoined, Defendant, and/or
    5   others acting on behalf of Defendant, will continue their infringing acts, thereby
    6   causing additional irreparable injury to Masimo for which there is no adequate
    7   remedy at law.
    8                      XVI. ELEVENTH CAUSE OF ACTION
    9                (TRADE SECRET MISAPPROPRIATION UNDER
   10               CALIFORNIA’S UNIFORM TRADE SECRET ACT)
   11          179. Plaintiffs Masimo and Cercacor hereby reallege and incorporate by
   12   reference the allegations set forth in paragraphs 1 through 177.
   13          180. This is a cause of action for Misappropriation of Trade Secrets under
   14   California’s Uniform Trade Secrets Act, Cal. Civ. Code §§ 3426 et seq., based
   15   upon Defendant’s wrongful and improper use and disclosure of confidential and
   16   proprietary trade secret information of Plaintiffs.
   17          181. Plaintiffs own trade secrets including, but not limited to, Plaintiffs’
   18   business plans, know-how, technical information, technical data, designs,
   19   manufacturing techniques and other business information (“Confidential
   20   Information”).
   21          182. Plaintiffs’ Confidential Information is currently or was, at least at the
   22   time of Defendant’s misappropriation, not generally known. All individuals with
   23   access to Plaintiffs’ Confidential Information were instructed to keep it
   24   confidential, and they were subject to obligations to keep Plaintiffs’ Confidential
   25   Information secret. Additionally, Plaintiffs’ Confidential Information is, or at
   26   least was at the time of Defendant’s misappropriation, not generally known to the
   27   public or to other persons who can obtain economic value from its disclosure or
   28   use.
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    1         183. Plaintiffs’ Confidential Information has actual and potential
    2   independent economic value because it is, or was, not generally known. The
    3   actual and potential independent economic value of Plaintiffs’ Confidential
    4   Information is derived from not being generally known because it gives or gave
    5   Plaintiffs an actual and potential business advantage over others who do not know
    6   the information and who could obtain economic value from its disclosure or use.
    7         184. Plaintiffs made reasonable efforts under the circumstances to keep
    8   Plaintiffs’ Confidential Information from becoming generally known.              For
    9   example, Plaintiffs’ efforts included marking documents confidential, instructing
   10   those individuals with access to the information to treat it as confidential,
   11   restricting access to the information, and requiring individuals and companies to
   12   enter into confidentiality agreements with Masimo in order to receive Masimo
   13   Confidential Information.
   14         185. Plaintiffs are informed and believe, and thereon allege, that
   15   Defendant misappropriated Plaintiffs’ Confidential Information by acquisition,
   16   disclosure and/or use. Upon information and belief, Defendant acquired, used and
   17   disclosed Plaintiffs’ Confidential Information at least by filing patent applications
   18   containing Masimo’s Confidential Information, without Plaintiffs’ express or
   19   implied consent.
   20         186. Upon information and belief, Lamego disclosed Plaintiffs’
   21   Confidential Information at least by September 2014, without Plaintiffs’ consent,
   22   to Defendant. Additionally, at the time of disclosure, Lamego knew or had reason
   23   to know that his knowledge of Plaintiffs’ Confidential Information was acquired
   24   by an employer-employee relationship, fiduciary relationship, and Lamego’s
   25   employment agreements, which created a duty for Lamego to keep Plaintiffs’
   26   Confidential Information secret.
   27         187. Upon information and belief, Defendant disclosed Plaintiffs’
   28   Confidential Information, without Plaintiffs’ consent, in published patent filings.
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    1   Defendant knew or had reason to know that the knowledge of Plaintiffs’
    2   Confidential Information came from Plaintiffs, and that Lamego had previously
    3   acquired Plaintiffs’ Confidential Information by virtue of an employer-employee
    4   and fiduciary relationship and the Lamego employment agreements, all of which
    5   created a duty for Lamego to keep Plaintiffs’ Confidential Information secret.
    6         188. Plaintiffs were harmed by Defendant’s acquisition, use, and
    7   disclosure of Plaintiffs’ Confidential Information, and Defendant’s actions were
    8   substantial factors in causing Plaintiffs’ harm. As a direct and proximate result of
    9   Defendant’s willful, improper, and unlawful acquisition, use, and disclosure of
   10   Plaintiffs’ trade secrets, Plaintiffs have suffered, and will continue to suffer, great
   11   harm and damage. Plaintiffs will continue to be irreparably damaged unless
   12   Defendant is enjoined from further use and disclosure of Plaintiffs’ Confidential
   13   Information.
   14         189. Defendant was unjustly enriched by Defendant’s acquisition, use,
   15   and disclosure of Plaintiffs’ Confidential Information, and Defendant’s actions
   16   were substantial factors in causing Defendant to be unjustly enriched. Defendant
   17   was unjustly enriched because its misappropriation of Plaintiffs’ Confidential
   18   Information caused Defendant to receive a benefit that it otherwise would not have
   19   achieved.
   20         190. If neither damages nor unjust enrichment caused by Defendant’s
   21   misappropriation of Plaintiffs’ Confidential Information is provable at trial,
   22   Plaintiffs are entitled to a reasonable royalty for the period of time that
   23   Defendant’s use of Plaintiffs’ Confidential Information could have been
   24   prohibited.
   25         191. The       aforementioned      acts    of    Defendant     in    wrongfully
   26   misappropriating Plaintiffs’ trade secrets were, and continue to be, willful and
   27   malicious, warranting an award of reasonable attorneys’ fees, as provided by
   28

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    1   Cal. Civ. Code § 3426.4, and exemplary damages, as provided by Cal. Civ. Code
    2   §§ 3294 and 3426.3(c).
    3                      XVII. TWELTH CAUSE OF ACTION
    4   (CORRECTION OF INVENTORSHIP OF U.S. PATENT NO. 10,078,052)
    5         192. Plaintiffs hereby reallege and incorporate by reference the
    6   allegations set forth in paragraphs 1 through 190.
    7         193. Lamego is a named inventor of U.S. Patent 10,078,052 presently
    8   recorded as owned by Apple. A true and correct copy of the ’052 patent is
    9   attached hereto as Exhibit 13.
   10         194. The ’052 Patent claims subject matter that Lamego obtained from
   11   discussions with Masimo or Cercacor employees Ammar Al-Ali, Mohamed
   12   Diab, and Walter Weber. Al-Ali, Diab, and Weber are joint inventors of the
   13   claimed subject matter, regardless of patentability. Accordingly, Al-Ali, Diab,
   14   and Weber should have been named inventors on the ’052 Patent.
   15         195. Pursuant to 28 U.S.C. § 2201 and 35 U.S.C. § 256, Plaintiffs seek
   16   an order directing the U.S. Patent and Trademark Office to correct the
   17   inventorship of the ’052 Patent by adding inventors Al-Ali, Diab, and Weber as
   18   named inventors.
   19                   XVIII. THIRTEENTH CAUSE OF ACTION
   20   (CORRECTION OF INVENTORSHIP OF U.S. PATENT NO. 10,247,670)
   21         196. Plaintiffs hereby reallege and incorporate by reference the
   22   allegations set forth in paragraphs 1 through 194.
   23         197. Lamego is a named inventor of U.S. Patent 10,247,670 presently
   24   recorded as owned by Apple. A true and correct copy of the ’670 patent is
   25   attached hereto as Exhibit 14.
   26         198. The ’670 Patent claims subject matter that Lamego obtained from
   27   discussions with Masimo or Cercacor employees Al-Ali, Diab, and Weber. Al-
   28   Ali, Diab, and Weber are joint inventors of the claimed subject matter,
                                              -56-
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    1   regardless of patentability. Accordingly, Al-Ali, Diab, and Weber should have
    2   been named inventors on the ’670 Patent.
    3         199. Pursuant to 28 U.S.C. § 2201 and 35 U.S.C. § 256, Plaintiffs seek
    4   an order directing the U.S. Patent and Trademark Office to correct the
    5   inventorship of the ’670 Patent by adding inventors Al-Ali, Diab, and Weber as
    6   named inventors.
    7                   XIX. FOURTEENTH CAUSE OF ACTION
    8    (CORRECTION OF INVENTORSHIP OF U.S. PATENT NO. 9,952,095)
    9         200. Plaintiffs hereby reallege and incorporate by reference the
   10   allegations set forth in paragraphs 1 through 198.
   11         201. Lamego is a named inventor of U.S. Patent 9,952,095 presently
   12   recorded as owned by Apple. A true and correct copy of the ’095 patent is
   13   attached hereto as Exhibit 15.
   14         202. The ’095 Patent claims subject matter that Lamego obtained from
   15   discussions with Masimo or Cercacor employees Al-Ali, Diab, and Weber. Al-
   16   Ali, Diab, and Weber are joint inventors of the claimed subject matter,
   17   regardless of patentability. Accordingly, Al-Ali, Diab, and Weber should have
   18   been named inventors on the ’095 Patent.
   19         203. Pursuant to 28 U.S.C. § 2201 and 35 U.S.C. § 256, Plaintiffs seek
   20   an order directing the U.S. Patent and Trademark Office to correct the
   21   inventorship of the ’095 Patent by adding inventors Al-Ali, Diab, and Weber as
   22   named inventors.
   23                      XX. FIFTEENTH CAUSE OF ACTION
   24   (CORRECTION OF INVENTORSHIP OF U.S. PATENT NO. 10,219,754)
   25         204. Plaintiffs hereby reallege and incorporate by reference the
   26   allegations set forth in paragraphs 1 through 202.
   27   ///
   28   ///
                                              -57-
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    1         205. Lamego is a named inventor of U.S. Patent 10,219,754 presently
    2   recorded as owned by Apple. A true and correct copy of the ’754 patent is
    3   attached hereto as Exhibit 16.
    4         206. The ’754 Patent claims subject matter that Lamego obtained from
    5   discussions with Masimo or Cercacor employees Al-Ali, Diab, and Weber. Al-
    6   Ali, Diab, and Weber are joint inventors of the claimed subject matter,
    7   regardless of patentability. Accordingly, Al-Ali, Diab, and Weber should have
    8   been named inventors on the ’754 Patent.
    9         207. Pursuant to 28 U.S.C. § 2201 and 35 U.S.C. § 256, Plaintiffs seek
   10   an order directing the U.S. Patent and Trademark Office to correct the
   11   inventorship of the ’754 Patent by adding inventors Al-Ali, Diab, and Weber as
   12   named inventors.
   13                      XXI. SIXTEENTH CAUSE OF ACTION
   14   (CORRECTION OF INVENTORSHIP OF U.S. PATENT NO. 10,524,671)
   15         208. Plaintiffs hereby reallege and incorporate by reference the
   16   allegations set forth in paragraphs 1 through 206.
   17         209. Lamego is a named inventor of U.S. Patent 10,524,671 presently
   18   recorded as owned by Apple. A true and correct copy of the ’671 patent is
   19   attached hereto as Exhibit 17.
   20         210. The ’671 Patent claims subject matter that Lamego obtained from
   21   discussions with Masimo or Cercacor employees Al-Ali, Diab, and Weber. Al-
   22   Ali, Diab, and Weber are joint inventors of the claimed subject matter,
   23   regardless of patentability. Accordingly, Al-Ali, Diab, and Weber should have
   24   been named inventors on the ’671 Patent.
   25         211. Pursuant to 28 U.S.C. § 2201 and 35 U.S.C. § 256, Plaintiffs seek
   26   an order directing the U.S. Patent and Trademark Office to correct the
   27   inventorship of the ’671 Patent by adding inventors Al-Ali, Diab, and Weber as
   28   named inventors.
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    1                   XXII. SEVENTEENTH CAUSE OF ACTION
    2    (DECLARATORY JUDGMENT OF OWNERSHIP OF PATENTS AND
    3                             PATENT APPLICATIONS)
    4         212. Plaintiffs hereby reallege and incorporate by reference the
    5   allegations set forth in paragraphs 1 through 210.
    6         213. U.S. Patents 10,078,052, 10,219,754, 10,247,670, 9,952,095, and
    7   10,524,671 are recorded as owned by Apple (the “Lamego Patents”). U.S.
    8   Patent Applications 15/667,832 and 15/960,507 are also recorded as owned by
    9   Apple (the “Lamego Applications”).
   10         214. Lamego developed the claimed subject matter in both the Lamego
   11   Patents and the Lamego Applications with employees of Masimo and Cercacor
   12   while he was employed at those companies. Lamego, as well as all of the other
   13   employees/inventors, had an obligation to assign said subject matter, patents,
   14   and patent applications to their employer, Masimo and Cercacor.
   15         215. As evidenced by the allegations set forth above, Plaintiffs Masimo
   16   and Cercacor are exclusive owners, or at least joint owners, of all patents and
   17   patent applications that are based on Apple’s claiming subject matter developed at
   18   Masimo and Cercacor while Lamego and the joint inventors (e.g., Al-Ali, Diab,
   19   and/or Weber) were employed at Masimo or Cercacor. Those patents and patent
   20   applications include, at a minimum, the Lamego Patents and Lamego Applications
   21   and all original applications, continuations, divisionals, and applications or patents
   22   that claim priority to any of these patents and patent applications, including
   23   foreign counterparts.
   24         216. Based on the forgoing, Plaintiffs seek declaratory relief that they
   25   are the exclusive owners, or at least joint owners, of those patents and patent
   26   applications. Thus, Plaintiffs seeks an order from the Court ordering Apple to
   27   change the title to the patents and patent applications in favor of Masimo and
   28   Cercacor.
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    1                              PRAYER FOR RELIEF
    2         WHEREFORE, Plaintiffs pray for judgment in their favor against
    3   Defendant for the following relief:
    4         A.     Pursuant to 35 U.S.C. § 271, a determination that Defendant and its
    5   officers, agents, servants, employees, attorneys and all others in active concert
    6   and/or participation with them have infringed each of the ’265, ’266, ’628, ’708,
    7   ’190, ’191, ’994, ’695, ’703, and ’776 patents through the manufacture, use,
    8   importation, offer for sale, and/or sale of infringing products and/or any of the
    9   other acts prohibited by 35 U.S.C. § 271;
   10         B.     Pursuant to 35 U.S.C. § 283, an injunction enjoining Defendant and
   11   its officers, agents, servants, employees, attorneys and all others in active
   12   concert and/or participation with them from infringing the ’265, ’266, ’628,
   13   ’708, ’190, ’191, ’994, ’695, ’703, and ’776 patents through the manufacture,
   14   use, importation, offer for sale, and/or sale of infringing products and/or any of
   15   the other acts prohibited by 35 U.S.C. § 271, including preliminary and
   16   permanent injunctive relief;
   17         C.     Pursuant to 35 U.S.C. § 284, an award compensating Masimo for
   18   Defendant’s infringement of the ’265, ’266, ’628, ’708, ’190, ’191, ’994, ’695,
   19   ’703, and ’776 patents through payment of not less than a reasonable royalty on
   20   Defendant’s sales of infringing products;
   21         D.     Pursuant to 35 U.S.C. § 284, an award increasing damages up to
   22   three times the amount found or assessed by the jury for Defendant’s
   23   infringement of each of the ’265, ’266, ’628, ’708, ’190, ’191, ’994, ’695, ’703,
   24   and ’776 patents in view of the willful and deliberate nature of the infringement;
   25         E.     Pursuant to 35 U.S.C. § 285, a finding that this is an exceptional
   26   case, and an award of reasonable attorneys’ fees and non-taxable costs;
   27         F.     An assessment of prejudgment and post-judgment interest and
   28   costs against Defendant, together with an award of such interest and costs,
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    1   pursuant to 35 U.S.C. § 284;
    2          G.     That Defendant be adjudged to have misappropriated Plaintiffs’ trade
    3   secrets in violation of the California Uniform Trade Secrets Act, Cal. Civ. Code
    4   § 3426 et seq., and that Defendant’s acts in doing so be adjudged willful,
    5   malicious, oppressive, and done knowingly;
    6          H.     That Defendant be adjudged to have been unjustly enriched;
    7          I.     That Plaintiffs be awarded damages for actual losses, unjust
    8   enrichment, and/or a reasonable royalty pursuant to 18 U.S.C. § 1836(b)(3)(B)
    9   and Cal. Civ. Code § 3426.3.
   10          J.     That Defendant, its agents, servants, employees, and attorneys, and
   11   all those persons in active concert or participation with each of them, be forthwith
   12   temporarily, preliminarily, and thereafter permanently required to return all of
   13   Plaintiffs’ trade secrets and confidential information and enjoined from further
   14   using and disclosing to any third parties any of Plaintiffs’ trade secrets and
   15   confidential information;
   16          K.     That Defendant, its agents, servants, employees, and attorneys, and
   17   all those persons in active concert or participation with Defendant, be forthwith
   18   temporarily, preliminarily, and thereafter permanently required to return all of
   19   Plaintiffs’ trade secrets and enjoined from further using and disclosing to any third
   20   parties any of Plaintiffs’ trade secrets;
   21          L.     That Defendant be enjoined from selling or offering to sell any
   22   product, including Defendant’s Apple Watch Series 4 and 5 devices, that includes
   23   or uses any of Plaintiffs’ trade secrets;
   24          M.     That Defendant be directed to file with this Court and to serve on
   25   Plaintiffs within thirty (30) days after the service of the injunction, a report in
   26   writing, under oath, setting forth in detail the manner and form in which
   27   Defendant has complied with the injunction;
   28   ///
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    1         N.     That Defendant be required to account to Plaintiffs for any and all
    2   gains, profits, and advantages derived by it, and all damages sustained by
    3   Plaintiffs, by reason of Defendant’s acts complained herein;
    4         O.     That Plaintiffs be awarded exemplary damages and reasonable
    5   attorneys’ fees pursuant to 18 U.S.C. § 1836(b)(3)(C) and (D), and Cal. Civ. Code
    6   § 3426.3(c) and 3426.4;
    7         P.     That the U.S. Patent and Trademark Office be directed to correct
    8   the inventorship of the Lamego Patents to add the correct inventors;
    9         Q.     An order imposing a constructive trust for the benefit of Plaintiffs
   10   over: (1) any trade secrets Defendants obtained from Plaintiffs; (2) any profits,
   11   revenues, or other benefits obtained by Defendants as a result of any disclosure
   12   or use of trade secrets obtained from Plaintiffs; and (3) the Lamego Patents and
   13   the Lamego Patent Applications;
   14         R.     That Plaintiffs be declared exclusive owners, or at least joint owners,
   15   of the patents and patent applications that are based on Plaintiffs’ developments,
   16   including the Lamego Patents and Lamego Patent Applications;
   17         S.     An award of taxable costs; and
   18         T.     That this Court award such other and further relief as this Court
   19   may deem just.
   20

   21                                    Respectfully submitted,
   22                                    KNOBBE, MARTENS, OLSON & BEAR, LLP
   23
        Dated: January 9, 2020           By: /s/ Perry D. Oldham
   24                                        Joseph R. Re
                                             Stephen C. Jensen
   25                                        Perry D. Oldham
                                             Stephen W. Larson
   26
                                             Attorneys for Plaintiff,
   27                                        Masimo Corporation
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    1                             DEMAND FOR JURY TRIAL
    2         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff
    3   Masimo Corporation hereby demands a trial by jury on all issues so triable.
    4                                   Respectfully submitted,
    5                                   KNOBBE, MARTENS, OLSON & BEAR, LLP
    6
        Dated: January 9, 2020         By: /s/ Perry D. Oldham
    7                                       Joseph R. Re
                                            Stephen C. Jensen
    8                                       Perry D. Oldham
                                            Stephen W. Larson
    9
                                            Attorneys for Plaintiff,
   10                                       Masimo Corporation
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